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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 INVENTUS POWER, INC., and
 ICC ELECTRONICS (DONGGUAN) LTD.,
                                                              Case No. 1:20-cv-03375
                                Plaintiff,
                                                              Judge Robert M. Dow, Jr.
                        v.
                                                              Magistrate Judge Jeffrey
 SHENZHEN ACE BATTERY CO., LTD.,                              Cummings

                                Defendant.



 MOTION BY DEFENDANT SHENZHEN ACE BATTERY CO., LTD. FOR LEAVE TO
                      SUBSTITUTE COUNSEL

        Pursuant to Rule 83.17 of the Local Rules of the United States District Court for the

Northern District of Illinois, Defendant Shenzhen Ace Battery Co., Ltd. (“Defendant”), moves this

Court for leave to withdraw the appearances of Attorneys Andrew Jonathan Palmer, Ruoting Men,

and Tianyu Ju of Glacier Law PLLC, and He Chang, Tao Liu, Wei Yang, Na Zhang of Glacier

Law LLP, as counsel of record for Defendant in this matter, and for leave to substitute the

appearances of Matthew Walch, Sean Berkowitz, Kevin C. Wheeler, and Stephen D. O’Donohue

of Latham & Watkins LLP. In support thereof, Defendant states:

        1.      Glacier Law LLP and Glacier Law PLLC are no longer retained by Defendant in

this case.

        2.      The withdrawal of Glacier Law LLP and Glacier Law PLLC and its attorneys of

record will not result in undue delay of these proceedings, nor will it result in undue prejudice to

any party in this litigation.

        3.      The proposed appearances are attached hereto as Exhibit A.
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       WHEREFORE, Defendant respectfully requests that this Court enter an order granting

Andrew Jonathan Palmer, He Chang, Tao Liu, Wei Yan, Na Zhang, Ruoting Men, and Tianyu Ju

leave to withdraw their appearances as attorneys of record for Defendant in this action, and

granting Matthew Walch, Sean Berkowitz, Kevin C. Wheeler, and Stephen D. O’Donohue leave

to file appearances for Defendant in this action, and such other and further relief as this Court

deems necessary and appropriate.



Date: June 7, 2022                          Respectfully submitted

                                            Shenzhen Ace Battery Co., Ltd.

                                            By: /s/ Matthew Walch
                                            Matthew Walch
                                            Attorney for Defendant

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